         Case 1:21-cr-00691-TSC Document 1-1 Filed 10/15/21 Page 1 of 7




                                   STATEMENT OF FACTS

       Your affiant is a Task Force Officer with the Federal Bureau of Investigation (FBI) and I
am currently assigned to the FBI’s Birmingham, Alabama, Field Office. Currently, I am tasked
with investigating criminal activity in and around the Capitol grounds on January 6, 2021. As a
Task Force Officer, I am authorized by law or by a Government agency to engage in or supervise
the prevention, detention, investigation, or prosecution of violations of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

       On January 6, 2021, a joint session of the U.S. Congress convened at the U.S. Capitol,
which is located at First Street, SE, in Washington, D.C. During the joint session, elected members
of the United States House of Representatives and the United States Senate were meeting in
separate chambers of the United States Capitol to certify the vote count of the Electoral College of
the 2020 Presidential Election, which had taken place on November 3, 2020. The joint session
began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the House and
Senate adjourned to separate chambers to resolve a particular objection. Vice President Mike
Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
         Case 1:21-cr-00691-TSC Document 1-1 Filed 10/15/21 Page 2 of 7




violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                Evidence Linking Christian Manley to Assault on the U.S. Capitol

        On or about July 14, 2021, the FBI interviewed an individual (“Person-1”) who described
meeting a person named CHRISTIAN from Alabama who had attended the January 6 rally. On
or about July 21, 2021, Person-1 recontacted agents to confirm that CHRISTIAN’s last name was
MANLEY. On or about August 5, 2021, agents met with Person-1 and showed him/her
photograph AFO-81A, which had previously been disseminated by the FBI for the purpose of
identifying individuals involved in the Capitol Riots on January 6. Person-1 identified the
individual in AFO-81A as MANLEY and said that MANLEY had shown Person-1 the same
photograph earlier out of a list of wanted persons. A copy of AFO-81A is shown below.




        Records obtained from the Alabama Department of Labor show that CHRISTIAN
MANLEY is associated with a phone number ending in 4769. According to records obtained
through a search warrant which was served on a cellphone provider, on January 6, 2021, in and
around the time of the incident, the cellphone associated with the phone number ending in 4769
was identified as having utilized a cell site consistent with providing service to a geographic area
that includes the vicinity of the United States Capitol building.

        On or about August 30, 2021, FBI interviewed an individual (“Person-2”) who is a relative
of CHRISTIAN MANLEY. Person-2 identified the individual shown in photograph AFO-81A is
CHRISTIAN MANLEY. Person-2 said MANLEY had discussed going to the January 6 rally as
early as one month earlier.

       The FBI has reviewed Capitol CCTV and publicly available video recorded during the
Capitol Riots.

      In the screenshot below from public video, MANLEY (circled in red), can be seen in the
Lower West Terrace, approaching the archway entrance to the Capitol. In his right hand,
MANLEY is holding what appears to be a container of pepper spray.



                                                 2
         Case 1:21-cr-00691-TSC Document 1-1 Filed 10/15/21 Page 3 of 7




        In the screenshot below from CCTV, MANLEY can be seen inside the Lower West Terrace
archway while U.S. Capitol Police and Metropolitan Police Department Officers were defending
the entrance from rioters trying to enter the Capitol. At approximately 2:53 p.m., MANLEY
(circled in red) can be seen spraying pepper spray at the officers from a container that resembles
the container seen in the previous screenshot.




       In the screenshot below, MANLEY (circled in red), can be seen throwing the empty pepper
spray cannister at the officers a few seconds later.




                                                3
         Case 1:21-cr-00691-TSC Document 1-1 Filed 10/15/21 Page 4 of 7




        CCTV footage shows that at approximately 2:54 p.m., MANLEY had returned to the
interior of the archway and was holding what appeared to be another pepper spray cannister in his
right hand. In the screenshot below, MANLEY (circled in red) can be seen spraying the second
pepper spray cannister at the officers defending the entrance to the Capitol.




       In the screenshot below, MANLEY (circled in red) can be seen at approximately 2:55 p.m.
throwing the second pepper spray cannister at the officers.




                                               4
         Case 1:21-cr-00691-TSC Document 1-1 Filed 10/15/21 Page 5 of 7




       At approximately 2:55 p.m., MANLEY accepted a metal rod from another rioter. In the
screenshot below, MANLEY (circled in red) can be seen throwing the metal rod at the officers.




       At approximately 2:57 p.m., MANLEY moved forward towards the officers defending the
entrance and occupied a place behind an open doorway leading to the Capitol. In the screenshot
below from public video, MANLEY (circled in red) can be seen bracing himself against the wall
and using his body to push a door against officers trying to defend the entrance.




                                              5
         Case 1:21-cr-00691-TSC Document 1-1 Filed 10/15/21 Page 6 of 7




         Based on the foregoing, your affiant submits that there is probable cause to believe that
CHRISTIAN MANLEY violated 18 U.S.C. § 111(a)(1) and (b), which makes it a crime to forcibly
assault, resist, oppose, impede, intimidate, or interfere with any person designated in section 1114
of title 18 while engaged in or on account of the performance of official duties and using a deadly
or dangerous weapon (including a weapon intended to cause death or danger but that fails to do so
by reason of a defective component). Persons designated within section 1114 include any person
assisting an officer or employee of the United States in the performance of their official duties.

        Your affiant submits there is also probable cause to believe that CHRISTIAN MANLEY
violated 18 U.S.C. § 231(a)(3) and § 2, which makes it unlawful to commit or attempt to commit
any act to obstruct, impede, or interfere with any fireman or law enforcement officer lawfully
engaged in the lawful performance of his official duties incident to and during the commission of
a civil disorder which in any way or degree obstructs, delays, or adversely affects commerce or
the movement of any article or commodity in commerce or the conduct or performance of any
federally protected function. For purposes of Section 231 of Title 18, a federally protected function
means any function, operation, or action carried out, under the laws of the United States, by any
department, agency, or instrumentality of the United States or by an officer or employee thereof.
This includes the Joint Session of Congress where the Senate and House count Electoral College
votes.

        Your affiant submits that there is also probable cause to believe that CHRISTIAN
MANLEY violated 18 U.S.C. § 1752(a)(1), (2) and (4), which make it a crime to (1) knowingly
enter or remain in any restricted building or grounds without lawful authority to do; (2) knowingly,
and with intent to impede or disrupt the orderly conduct of Government business or official
functions, engage in disorderly or disruptive conduct in, or within such proximity to, any restricted
building or grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct
of Government business or official functions; and (4) knowingly engage in any act of physical
violence against any person or property in any restricted building or grounds; or attempt or
conspire to do so; and (b)(1)(A) during and in relation to the offense, did use and carry a deadly
and dangerous weapon, to wit: pepper spray and a door. For purposes of Section 1752 of Title 18,
a “restricted building” includes a posted, cordoned off, or otherwise restricted area of a building


                                                 6
         Case 1:21-cr-00691-TSC Document 1-1 Filed 10/15/21 Page 7 of 7




or grounds where the President or other person protected by the Secret Service, including the Vice
President, is or will be temporarily visiting; or any building or grounds so restricted in conjunction
with an event designated as a special event of national significance.

        Your affiant submits there is also probable cause to believe that CHRISTIAN MANLEY
violated 40 U.S.C. § 5104(e)(2)(D) and (G), which makes it a crime to willfully and knowingly
(D) utter loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at
any place in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or
disturb the orderly conduct of a session of Congress or either House of Congress, or the orderly
conduct in that building of a hearing before, or any deliberations of, a committee of Congress or
either House of Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.




                                                       _________________________________
                                                       Stephen Lee, Special Agent
                                                       Federal Bureau of Investigation


Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 15th day of October, 2021.



                                                                             Zia M. Faruqui
                                                                             2021.10.15 18:50:33 -04'00'
                                                      _____________________________________
                                                      HONORABLE ZIA M. FARUQUI
                                                      UNITED STATES MAGISTRATE JUDGE




                                                  7
